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                      UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF OHIO
                           WESTERN DIVISION

SHANTE STEPHENSON,

             Plaintiff,

      v.                                                 Case No. 1:21-cv-455
                                                         JUDGE DOUGLAS R. COLE
CAITO FOODS, LLC,

             Defendant.

                      STIPULATED PROTECTIVE ORDER

      Pursuant to the parties’ joint request that the Court enter this Order, and their

agreement that the following limitations and restrictions should apply to documents

and information produced for inspection and copying during the course of this

litigation (the “Action”), the Court hereby ORDERS that:

      1.     Scope. This Protective Order (hereinafter “Protective Order” or

“Order”) shall apply to all documents or other information produced in the course of

discovery in this Action that the producing person or entity (the “Producing Entity”)

has designated as “CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER” or

“ATTORNEYS’ EYES ONLY – SUBJECT TO PROTECTIVE ORDER” (either a

“Confidentiality Designation” or collectively the “Confidentiality Designations”)

pursuant to this Order, which may include but is not limited to, initial disclosures,

responses to discovery requests, deposition testimony and exhibits, and materials

(including documents or testimony) produced by non-parties in response to subpoenas

issued in connection with this matter, including all copies, excerpts, and summaries

thereof (collectively the “Confidential Information”).
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      2.     Purpose. The purpose of this Protective Order is to protect against the

unnecessary disclosure of Confidential Information.

      3.     Disclosure Defined. As used herein, “disclosure” or “to disclose” means

to divulge, reveal, describe, summarize, paraphrase, quote, transmit, or otherwise

communicate Confidential Information, and the restrictions contained herein

regarding disclosure of Confidential Information also apply with equal force to any

copies, excerpts, analyses, or summaries of such materials or the information

contained therein, as well as to any pleadings, briefs, exhibits, transcripts or other

documents which may be prepared in connection with this litigation which contain or

refer to the Confidential Information or information contained therein.

      4.     Designating Material.

             a.     Designating Material As Confidential.

      Any party, or any third party subpoenaed by one of the parties, may designate

as Confidential and subject to this Protective Order any documents, testimony,

written responses, or other materials produced in this case if they contain information

that the Producing Entity asserts in good faith is protected from disclosure by statute

or common law, including, but not limited to, confidential personal information,

medical or mental health information, trade secrets, personnel records, or such other

sensitive commercial information that is not publicly available. Information that is

publicly available may not be designated as Confidential. The designation of

materials as Confidential pursuant to the terms of this Protective Order does not

mean that the document or other material has any status or protection by statute or

otherwise except to the extent and for the purposes of this Order.



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             b.     Designating Material As Attorneys’ Eyes Only.

      Any party, or any third party subpoenaed by one of the parties, may designate

as Attorneys’ Eyes Only and subject to this Protective Order any materials or

information that meet the test set forth in Paragraph 4.a, but as to which the

Producing Entity also asserts in good faith that the information is so competitively

sensitive that the receipt of the information by parties to the litigation could result

in competitive harm to the Producing Entity.

      5.     Form and Timing Of Designation.

             a.     Documents And Written Materials.

      The Producing Entity shall designate any document or other written materials

as confidential pursuant to this Order by marking each page of the material with a

stamp setting forth the Confidentiality Designation, if practical to do so. The person

or entity designating the material shall place the stamp, to the extent possible, in

such a manner that it will not interfere with the legibility of the document. Materials

shall be so designated prior to, or at the time of, their production or disclosure.

             b.     Electronically Stored Information (“ESI”).

      If a production response includes ESI, the Producing Entity shall make an

effort to include within the electronic files themselves the Confidentiality Designation

to the extent practicable. If that is not practicable, then the Producing Entity shall

designate in a transmittal letter or email to the party to whom the materials are

produced (the “Receiving Party”) using a reasonable identifier (e.g., the Bates range)

any portions of the ESI that should be treated as “CONFIDENTIAL – SUBJECT TO




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PROTECTIVE ORDER,” and any portions of the ESI that should be treated as

“ATTORNEYS’ EYES ONLY – SUBJECT TO PROTECTIVE ORDER.”

             c.     Deposition Testimony.

      Deposition testimony will be deemed confidential only if designated as such

when the deposition is taken or after receipt of the deposition transcript. Such

designation must indicate which Confidentiality Designation applies and must be

specific as to the portions of the transcript and/or any exhibits to which that

Confidentiality Designation applies, except that any exhibit that was marked with a

Confidentiality Designation at the time of production, and which still bears that mark

at the time of its use in a deposition, shall be presumed to fall within the provisions

of this Order without further designation.

      6.     Limitation Of Use.

             a.     General Protections.

      All information that has received a Confidentiality Designation, including all

information derived therefrom, shall be used by any Receiving Party solely for

purposes of prosecuting or defending this Action. A Receiving Party shall not use or

disclose the Confidential Information for any other purpose, including but not limited

to any business, commercial, or competitive purpose. Except as set forth in this Order,

a Receiving Party shall not disclose Confidential Information to any third party. This

Order shall not prevent the Producing Entity from using or disclosing information it

has designated as Confidential Information, and that belongs to the Producing

Entity, for any purpose that the Producing Entity deems appropriate.’




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              b.     Persons To Whom Information Marked “Confidential”
                     May Be Disclosed.

       Use of any information, documents, or portions of documents marked

“CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER,” including all

information derived therefrom, shall be restricted solely to the following persons who

agree to be bound by the terms of this Protective Order, unless additional persons are

stipulated by counsel or authorized by the Court:

                     1.     outside counsel of record for the parties, paralegals, and

the administrative staff of outside counsel’s firms;

                     2.     in-house counsel for the parties, paralegals, and the

administrative staff for each in-house counsel;

                     3.     any party to this action who is an individual;

                     4.     as to any party to this action who is not an individual, such

party’s employees, directors, officers, or managers, but only to the extent necessary

to further the interest of the parties in this litigation;

                     5.     independent consultants or expert witnesses (including

partners, associates and employees of the firm which employs such consultant or

expert) retained by a party or its attorneys for purposes of this litigation, but only to

the extent necessary to further the interest of the parties in this litigation, and only

after such persons have completed the certification attached hereto as Attachment A,

Acknowledgment of Understanding and Agreement to be Bound;

                     6.     the Court and its personnel, including, but not limited to,

stenographic reporters regularly employed by the Court and stenographic reporters




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not regularly employed by the Court who are engaged by the Court or the parties

during the litigation of the Action;

                    7.       the authors and the original recipients of the documents;

                    8.       any court reporter or videographer reporting a deposition;

                    9.       employees of copy services, microfilming or database

services, trial support firms, translators, jury consultants, and/or mock jurors; who

are engaged by the parties during the litigation of this Action;

                    10.      interviewees, potential witnesses, deponents, hearing or

trial witnesses, and any other person, where counsel for a party to this action in good

faith determines the individual should be provided access to such information in order

for counsel to more effectively prosecute or defend this action (as long as the

disclosure occurs in the presence of counsel, and copies, duplicates, images, or the like

are not removed or retained by any interviewee, potential witness, deponent, or

hearing or trial witness);

                    11.      mediators and other neutral evaluators either assigned to

the case by the Court or retained for the case by the mutual agreement of the parties;

                    12.      any insurance broker, insurance carrier, third-party

adjuster, coverage counsel of said insurance brokers, carriers, and adjusters, or agent

thereof for the parties, but only to the extent necessary to further the interest of the

parties in this litigation, and only after a representative for each insurer or adjuster

has completed the certification attached hereto as Attachment A, Acknowledgment

of Understanding and Agreement to be Bound; or

                    13.      any other person agreed to in writing by the parties.



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Prior to being shown any documents produced by another party marked

“CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER,” any person listed under

paragraph 6(b)(3), 6(b)(4), 6(b)(10), or 6(b)(13) shall be provided a copy of this

Protective Order, and specifically advised that the Confidential Information is being

disclosed pursuant to and subject to the terms of this Protective Order, and that

further disclosure is prohibited.

             c.     Persons To Whom Information Marked “Attorneys’ Eyes
                    Only” May Be Disclosed.

      Use of any information, documents, or portions of documents marked

“ATTORNEYS’ EYES ONLY – SUBJECT TO PROTECTIVE ORDER,” including all

information derived therefrom, shall be restricted solely to the following persons who

agree to be bound by the terms of this Protective Order, unless additional persons are

stipulated by counsel or authorized by the Court:

                    1.     outside counsel of record for the parties, paralegals, and

the administrative staff of outside counsel’s firms;

                    2.     in-house counsel, risk managers and paralegals for the

parties;

                    3.     independent consultants or expert witnesses (including

partners, associates and employees of the firm which employs such consultant or

expert) retained by a party or its attorneys for purposes of this litigation, but only to

the extent necessary to further the interest of the parties in this litigation, and only

after such persons have completed the certification attached hereto as Attachment A,

Acknowledgment of Understanding and Agreement to be Bound;




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                    4.     the Court and its personnel, including, but not limited to,

stenographic reporters regularly employed by the Court and stenographic reporters

not regularly employed by the Court who are engaged by the Court or the parties

during the litigation of the Action;

                    5.     the authors and the original recipients of the documents;

                    6.     any court reporter or videographer reporting a deposition;

                    7.     employees of copy services, microfilming or database

services, trial support firms, translators, jury consultants, and/or mock jurors; who

are engaged by the parties during the litigation of the Action;

                    8.     mediators and other neutral evaluators either assigned to

the case by the Court or retained for the case by the mutual agreement of the parties;

                    9.     any insurance broker, insurance carrier, third-party

adjuster, coverage counsel of said insurance brokers, carriers, and adjusters, or agent

thereof for the parties but only to the extent necessary to further the interest of the

parties in this litigation, and only after a representative for each insurer has

completed the certification attached hereto as Attachment A, Acknowledgment of

Understanding and Agreement to be Bound;

                    10.    any other person agreed to in writing by the parties.

Prior to being shown any documents produced by another party marked

“ATTORNEYS’ EYES ONLY – SUBJECT TO PROTECTIVE ORDER,” any person

listed under paragraph 6(c)(10) shall be provided a copy of this Protective Order, and

specifically advised that the Confidential Information is being disclosed pursuant to




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and subject to the terms of this Protective Order, and that further disclosure is

prohibited.

      7.      Inadvertent Production. Inadvertent production of any document or

information with a Confidentiality Designation shall be governed by Fed. R. Evid.

502. Pursuant to subsections (d) and (e) of that Rule, the parties agree to, and the

Court orders, protection of Protected Information against claims of waiver (including

as against third parties and in other Federal and State proceedings) in the event such

information is produced during the course of the Litigation, whether pursuant to a

Court order, a parties’ discovery request, or informal production, as follows:

              a.    The production of documents or electronically stored information

(“ESI”) (including, without limitation, metadata) subject to a legally recognized claim

of privilege or other protection from production or other disclosure (collectively,

“Protected Information”), including without limitation the attorney-client privilege

and work-product doctrine, shall in no way constitute the voluntary disclosure of such

Protected Information;

              b.    The production of Protected Information shall not result in the

waiver of any privilege or protection associated with such Protected Information as

to the receiving party, or any third parties, and shall not result in any waiver of

protection, including subject matter waiver, of any kind;

              c.    If any document or ESI (including, without limitation, metadata)

received by a party is on its face clearly subject to a legally recognizable privilege,

immunity, or other right not to produce such information, the Receiving Party will

promptly notify the Producing Entity in writing that it has discovered Protected



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Information, identify the Protected Information by Bates Number range, and return

or sequester such Protected Information until the Producing Entity confirms whether

it does indeed assert any privilege protecting this information. Once the Producing

Entity asserts privilege over such Protected Information (as described in

Subparagraph (e) below), the Receiving Party will return, sequester, or destroy all

copies of such Protected Information, along with any notes, abstracts or compilations

of the content thereof, within ten (10) business days of notice from the Producing

Entity;

              d.    If the Producing Entity intends to assert a claim of privilege or

other protection over Protected Information identified by the Receiving Party, the

Producing Entity will, within ten (10) business days of receiving the Receiving Party’s

written notification, inform the Receiving Party of such intention in writing and shall

provide the Receiving Party with a log for such Protected Information that is

consistent with the requirements of the Federal Rules of Civil Procedure, setting forth

the basis for the claim of privilege, immunity or basis for non-disclosure, and in the

event, if any portion of the Protected Information does not contain privileged or

protected information, the Producing Entity shall also provide to the Receiving Party

a redacted copy of the Protected Information that omits the information that the

Producing Entity believes is subject to a claim of privilege, immunity or other

protection;

              e.    If, during the course of the litigation, a party determines it has

inadvertently produced Protected Information, the Producing Entity may notify the

Receiving Party of such production in writing. The Producing Entity’s written notice



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must identify the Protected Information by Bates Number range, the privilege or

protection claimed, and the basis for the assertion of the privilege and shall provide

the receiving party with a log for such Protected Information that is consistent with

the requirements of the Federal Rules of Civil Procedure, setting forth the basis for

the claim of privilege, immunity or basis for non-disclosure, and in the event any

portion of the Protected Information does not contain privileged or protected

information, the Producing Entity shall also provide to the receiving party a redacted

copy of the Protected Information that omits the information that the Producing

Entity believes is subject to a claim of privilege, immunity or other protection. The

Producing Entity must also demand the return of the Protected Information. After

receiving such written notification, the Receiving Party must, within ten (10)

business days of receiving the written notification, return, sequester, or destroy the

specified Protected Information and any copies, along with any notes, abstracts or

compilations of the content thereof;

             f.    A Receiving Party’s return, sequestration, or destruction of such

Protected Information as provided in the Subparagraphs above will not act as a

waiver of the Receiving Party’s right to move for the production of the returned,

sequestered, or destroyed Protected Information on grounds that the Protected

Information is not in fact subject to a viable claim of privilege or other protection.

However, the Receiving Party is prohibited and estopped from arguing that the

Producing Entity’s production of the Protected Information in this matter acts as a

waiver of applicable privileges or protections, that the disclosure of the Protected

Information by the Producing Entity was not inadvertent, that the Producing Entity



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did not take reasonable steps to prevent the disclosure of the Protected Information,

or that the Producing Entity did not take reasonable steps to rectify such disclosure;

             g.     Nothing in this Protective Order supersedes any attorney’s

ethical responsibilities to refrain from examining or disclosing materials that the

attorney knows or reasonably should know to be privileged and to inform the

Producing Entity that such materials have been produced.

             h.     Nothing contained herein is intended to or shall limit a Producing

Entity’s right to conduct a review of documents or ESI (including, without limitation,

metadata), for relevance, responsiveness, and/or the segregation of privileged and/or

protected information before such information is produced to the Receiving Party;

             i.     Prior to production to another party, all copies, electronic images,

duplicates, extracts, summaries, or descriptions (collectively “copies”) of documents

marked with a Confidentiality Designation under this Order, or in any individual

portion of such a document, shall be affixed with the same Confidentiality

Designation if it does not already appear on the copy. All such copies shall thereafter

be entitled to the protection of this Order. The term “copies” shall not include indices,

electronic databases, or lists of documents provided these indices, electronic

databases, or lists do not contain substantial portions or images of the text of

confidential documents or otherwise disclose the substance of the confidential

information contained in those documents.




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      8.     Filing Materials Containing Information With A Confidentiality
             Designation.

      In the event a party seeks to file with the Court any confidential information

subject to protection under this Order, that party must take appropriate action to

ensure that the document receives proper protection from public disclosure,

including: (a) filing a redacted document with the consent of the party who designated

the document as confidential; (b) where appropriate (e.g., in relation to discovery and

evidentiary motions), submitting the document solely for in camera review; or

(c) when the preceding measures are inadequate, seeking permission to file the

document under seal by filing a motion for leave to file under seal.

      Any motion to file a document subject to this Order under seal must meet the

Sixth Circuit’s standard set forth in Shane Group, Inc. v. Blue Cross Blue Shield of

Michigan, 825 F.3d 299 (6th Cir. 2016). The burden of demonstrating the need for

and appropriateness of a sealing order is borne by the moving party, and requires the

moving party to analyze in detail, document by document, the propriety of secrecy,

providing reasons and legal citations. Regardless of whether the parties agree, it

remains the Court’s independent obligation to determine whether a seal is

appropriate for any given document or portion thereof.

      With respect to motions to file documents under seal, the parties recognize and

acknowledge that the Court must determine whether the party moving for a seal

overcomes the “strong presumption in favor of openness.” Brown & Williamson, 710

F.2d 1165, 1179 (6th Cir. 1983). The Court must then justify “why the interests in

support of nondisclosure are compelling, why the interests supporting access are less

so, and why the seal itself is no broader than necessary.” Shane Grp., 825 F.3d at 306.


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And as the Sixth Circuit has repeatedly cautioned, “only the most compelling reasons

can justify non-disclosure of judicial records.” In re Nat'l Prescription Opiate Litig.,

927 F.3d 919, 940 (6th Cir. 2019). On top of this, the Court must ensure that any

sealing order be “narrowly tailored” to serve the reason asserted. Shane Grp., 825

F.3d at 305. To meet this narrow tailoring requirement, the moving party must

“analyze in detail, document by document, the propriety of secrecy, providing reasons

and legal citations.” Id. at 305–06 (quoting Baxter Int'l v. Abbott Labs., 297 F.3d 544,

548 (7th Cir. 2002)). Accordingly, any proposed sealing, even when compelling

reasons exist, must be narrowly tailored to serve the compelling reasons.

      When a party to this Order seeks to file documents which it believes may

warrant sealing but is not the party who may be prejudiced by the document or

documents becoming part of the public record, the filing party shall provide the

potentially prejudiced party or parties, or any potentially prejudiced third party or

parties, with written notification of its intent to file such documents at least (14)

fourteen days before doing so. After being provided such notice, the potentially

harmed party or parties will then have (7) seven days to file with the Court a motion

for sealing. The Court will rule on the motion as promptly as possible.

      9.     Attorneys Allowed To Provide Advice. Nothing in this Order shall

bar or otherwise restrict any attorney for any party from rendering advice to his or

her client with respect to this case or from doing anything necessary to prosecute or

defend this case and furthering the interests of his or her client, except for the

disclosure of the Confidential Information as proscribed in this Order.




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      10.    Excluding Others From Access. Whenever information bearing a

Confidentiality Designation pursuant to this Protective Order is to be discussed at a

deposition, the person or entity that designated the information may exclude from

the room any person, other than persons designated in Paragraph 6 of this Order, as

appropriate, for that portion of the deposition.

      11.    No Voluntary Disclosure To Other Entities. The parties or anyone

acting on their behalf may not voluntarily disclose any Confidential Information to

any person, except in this litigation as set forth in Paragraph 6 of this Order or as

otherwise commanded by law or provided in this Order. Nothing in this Order shall

prevent a party from providing information in its possession in response to a valid

Court or administrative order or subpoena requiring the production of such

information, except that, prior to such production, the party producing the

information shall provide as much advance notice as possible to the person or entity

that designated the material as confidential to facilitate that party’s efforts to

preserve the confidentiality of the material, if warranted.

      12.    Disputes As To Designations. Each party has the right to dispute the

Confidentiality Designation asserted by any other party or subpoenaed person or

entity in accordance with this Protective Order. If a party believes that any

documents or materials have been inappropriately designated by another party or

subpoenaed party, that party shall confer with counsel for the person or entity that

designated the documents or materials. As part of that conferral, the designating

person or entity must assess whether redaction is a viable alternative to complete

non-disclosure. If any party challenges the Confidentiality Designation of any



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document or information, the burden to properly maintain the designation shall, at

all times, remain with the person or entity that made the designation to show that

said document or information should remain protected pursuant to Federal Civil Rule

26(c). In the event of disagreement, the Receiving Party may, within ten (10) business

days of claw-back notification and regardless of the Receiving Party’s returning,

sequestering, or destroying of such Protected Information, seek an order from the

Court directing the production of the Protected Information on the ground that the

claimed privilege or protection is invalid or inapplicable.

      13.    Information Security Protections. Any person in possession of

Confidential Information received from another person or entity in connection with

this Action shall maintain an information security program that includes reasonable

administrative, technical, and physical safeguards designed to protect the security

and confidentiality of such Confidential Information, protect against any reasonably

anticipated threats or hazards to the security of such Confidential Information, and

protect against unauthorized access to or use of such Confidential Information.

      If a Receiving Party discovers a breach of security, including any actual or

suspected unauthorized access, to Confidential Information subject to this Order,

they shall: (1) notify the person or entity who designated the materials under the

terms of this Order of such breach; (2) investigate and take reasonable efforts to

remediate the effects of the breach; and (3) provide sufficient information about the

breach that the Producing Entity can reasonably ascertain the size and scope of the

breach. The Receiving Party agrees to cooperate with the Producing Entity or law

enforcement in investigating any such security incident. In any event, the Receiving



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Party shall promptly take all necessary and appropriate corrective action to

terminate the unauthorized access.

      14.    All Trials Open To Public. All trials, and certain pretrial proceedings

and hearings, are open to the public (collectively a “Public Hearing” or “Public

Hearings”). Absent further order of the Court, there will be no restrictions on any

Party’s ability to the use during a Public Hearing any document or information that

has marked with a Confidentiality Designation or documents or information derived

therefrom that would disclose such confidential information. However, if a party

intends to present at a Public Hearing any document or information that has been so

designated, the party intending to present such document or information shall

provide advance notice to the person or entity that made the Confidentiality

Designation at least (5) five days before the Public Hearing by identifying the

documents or information at issue as specifically as possible (i.e., by Bates Number,

page range, deposition transcript line, etc.) without divulging the actual documents

or information. Any person may then seek appropriate relief from the Court regarding

restrictions on the use of such documents or information at trial, or sealing of the

courtroom, if appropriate.

      15.    No Waiver Of Right To Object. This Order does not limit the right of

any party to object to the scope of discovery in the above-captioned action.

      16.    No Determination Of Admissibility. This Order does not constitute

a determination of the admissibility or evidentiary foundation for the documents or

a waiver of any party’s objections thereto.




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      17.    No Admissions. Designation by either party of information or

documents under the terms of this Order, or failure to so designate, will not constitute

an admission that information or documents are or are not confidential or trade

secrets. Neither party may introduce into evidence in any proceeding between the

parties, other than a motion to determine whether the Protective Order covers the

information or documents in dispute, the fact that the other party designated or failed

to designate information or documents under this Order.

      18.    No Prior Judicial Determination. This Order is based on the

representations and agreements of the parties and is entered for the purpose of

facilitating discovery in this action. Nothing in this Order shall be construed or

presented as a judicial determination that any documents or information as to which

counsel or the parties made a Confidentiality Designation is in fact subject to

protection under Rule 26(c) of the Federal Rules of Civil Procedure or otherwise until

such time as the Court may rule on a specific document or issue.

      19.    Order Subject To Modification. This Order shall be subject to

modification by the Court on its own motion or on motion of a party or any other

person with standing concerning the subject matter.

      20.    Parties May Consent To Disclosure. Nothing shall prevent

disclosure beyond the terms of this Order if all parties consent to such disclosure, or

if the Court, after notice to all affected parties, permits such disclosure. Specifically,

if and to the extent any party wishes to disclose any Confidential Information beyond

the terms of this Order, that party shall provide all other parties with reasonable

notice in writing of its request to so disclose the materials. If the parties cannot



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resolve their disagreement with respect to the disclosure of any Confidential

Information, then a party may petition the Court for a determination of these issues.

In addition, any interested member of the public may also challenge the designation

of any material as confidential, pursuant to the terms of this paragraph.

      21.    Return Of Materials Upon Termination Of Litigation. Upon the

written request and expense of the Producing Entity, within 30 days after the entry

of a final judgment no longer subject to appeal on the merits of this case, or the

execution of any agreement between the parties to resolve amicably and settle this

case, the parties and any person authorized by this Protective Order to receive

confidential information shall return to the Producing Entity, or destroy, all

information and documents subject to this Protective Order, unless the specific

document or information has been offered into evidence or filed without restriction as

to disclosure. The party requesting the return of materials shall pay the reasonable

costs of responding to its request. The party returning or destroying the documents

or other information shall certify that it has not maintained any copies of confidential

information, except as permitted by this Order.

      Notwithstanding the provisions of this paragraph, the parties agree that

documents designated “CONFIDENTIAL” and “CONFIDENTIAL – ATTORNEYS’

EYES ONLY” received by any person listed under paragraphs 6(b)(12) and 6(c)(9)

need not be destroyed or returned within sixty (60) days of the conclusion of the

litigation and may instead be maintained by those persons as confidential in a

manner consistent with their document retention policies to the extent such policies




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are based on statutory, regulatory and other provisions requiring preservation of

records beyond final resolution of the litigation.

      22.    Counsel Allowed To Retain Copy Of Filings. Nothing in this

Protective Order shall prevent outside counsel for a party from maintaining in its

files a copy of any filings in the Action, including any such filings that incorporate or

attach Confidential Information. Moreover, an attorney may use his or her work

product in subsequent litigation provided that such use does not disclose any

Confidential Information.

      SO ORDERED.

March 16, 2022
DATE                                         DOUGLAS R. COLE
                                             UNITED STATES DISTRICT JUDGE
AGREED TO:

/s/ Brendan J. Flaherty                 /s/ Alyssa L. Rebensdorf
Brendan J. Flaherty (admitted pro hac   Alyssa L. Rebensdorf (admitted pro hac
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                     UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF OHIO
                          WESTERN DIVISION

SHANTE STEPHENSON,

             Plaintiff,

      v.                                            Case No. 1:21-cv-455
                                                    JUDGE DOUGLAS R. COLE
CAITO FOODS, LLC,

             Defendant.

                          FORM PROTECTIVE ORDER
                              ATTACHMENT A

      The undersigned hereby acknowledges that [he/she] has read the Protective

Order dated _________________ in the above-captioned action and attached hereto,

understands the terms thereof, and agrees to be bound by its terms. The undersigned

submits to the jurisdiction of the United States District Court for the Southern

District of Ohio in matters relating to the Protective Order and understands that the

terms of the Protective Order obligate [him/her] to use documents designated

“CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER” or “ATTORNEYS’ EYE

ONLY – SUBJECT TO PROTECTIVE ORDER” in accordance with the Order, solely

for the purpose of the above-captioned action, and not to disclose any such documents

or information derived directly therefrom to any other person, firm, or concern.
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        The undersigned acknowledges that violation of the Protective Order may

result in penalties for contempt of court.

Name:

Job Title:

Employer:

Business Address:




Date:
                                        Signature




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